
PER CURIAM.
Appellant was adjudicated delinquent for committing a battery in violation of section 784.03, Florida Statutes (1993). We find merit in her argument that the trial court erred in sentencing her to an indeterminate term of community control since such term could exceed the one year statutory maximum sentence for a violation of section 784.03, a first degree misdemeanor. See B.S. v. State, 661 So.2d 19 (Fla. 2d DCA 1994); R.H. v. State, 549 So.2d 742 (Fla. 2d DCA 1989).
We affirm that portion of the adjudication order finding appellant delinquent. We reverse the portion of the order committing appellant to an indeterminate term of community control with instruction to the trial court on remand to limit the term of community control to one year.
CAMPBELL, A.C.J., and SCHOONOVER and BLUE, JJ., concur.
